               Case 21-57519-bem                Doc EARNINGS
                                                    5 Filed 10/07/21   Entered 10/07/21 12:03:32
                                                             STATEMENT (US)                                           Desc Main
                                                       Document     Page 1 of 8
                     HOME DEPOT U.S.A., INC                                                   PAY PERIOD BEGIN:            07/26/2021
                                                                                               PAY PERIOD END:             08/08/2021
                     2455 PACES FERRY ROAD              q-i      f , '1I' iv'
                                                        ifr 04. di: !.,4 A.                        ADVICE DATE:            08/13/2021
                     ATLANTA, GA 30339 4024
                                                                                                ADVICE NUMBER:                      0
                                                  2021 OCT -1 Mill: 20           AVAILABLE SICK AS OF 08/08/2021:        4:45 HOURS


    21-57519
                                                                            AVAILABLE VACATION AS OF 08/08/2021:         0:00 HOURS
                                                                              Aly1 LE SUPP SICK AS OF 08/08/2021:        0:00 HOURS
                                                                         istL-       ASSOCIATE ID:                         129533766
ASSOCIATE NAME:               BRITTNY ROBINS


                                                 ALLOWANCES              ADD'L W/H             GROSS WAGES:                   1,373.68
FED INC TX            SINGLE OR                       0                      0                 NET WAGES:                       977.05
                      MARRIED FILING
                      SEPARATELY
STATE                 E - HEAD OF                       1                        0             NET PAY:                         977.05
                      HOUSEHOLD
IF YOU WORKED OVERTIME, THE OVERTIME RATE IS SHOWN DIVIDED BETWEEN THE BASE HOURLY RATE ("OVERTIME") AND ANY ADDITIONAL AMOUNTS ("OT
PREMIUM") . YOUR TOTAL OVERTIME RATE (TIME-AND-A-HALF) IS THE SUM OF THE "OVERTIME" + "OT PREMIUM" RATES.

                                                            GROSS WAGES
         DESCRIPTION                   PERIOD               RATE    HOURS                       CURRENT              YEAR-TO-DATE
REGULAR                         07/26/2021-08/01/2021         24.53        16.00                           392.48
REGULAR                         08/02/2021-08/08/2021         24.53        16.00                           392.48           24,740.28
BEREAV                          07/26/2021-08/08/2021         24.53           24.00                        588.72              588.72
SUCCESS SHR                                                                                                                  2,236.30
OT PREMIUM                                                                                                                      25.55
OVERTIME                                                                                                                        51.07
HOLIDAY PAY                                                                                                                    725.70
VACATION                                                                                                                     2,936.80
SICK/PERS                                                                                                                      208.51
PERSONAL                                                                                                                       435.43
HEALTH CHECK                                                                                                                    57.87


TOTAL WORKED HOURS:                                                           32.00
TOTAL GROSS WAGES:                                                                                        1,373.68          32,006.23

                                                    EXPENSE REIMBURSEMENT
               DESCRIPTION                                    CURRENT                                     YEAR-TO-DATE

                   PRE TAX DEDUCTIONS, CREDITS AND OTHER COMPENSATION/BENEFITS
          DESCRIPTION                        CURRENT                      YEAR-TO-DATE
MED                                                          62.00                                                             990.58
VISION FT                                                     9.31                                                             146.30
DENTAL FT                                                     6.19                                                              97.27
FUTUREBUILDER CNTRB                                                                                                            891.49

TOTAL:                                                                                 77.50                                  2,125.64

                                                     AFTER TAX DEDUCTIONS
               DESCRIPTION                  .              CURRENT                                        YEAR-TO-DATE
401K LN                                                                                49.16                                    589.92
HOMER FND                                                                               1.00                                     16.00
BASIC LIFE                                                                              0.94                                     15.04
CRITICAL ILL                                                                            0.85                                     13.60
SUPPLIFE                                                                                5.26                                     83.89
STD                                                                                    18.94                                    302.13
LTD                                                                                     4.51                                     71.94

TOTAL:                                                                                 80.66                                  1,092.52

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           Case 21-57519-bem    Doc 5          Filed 10/07/21 Entered 10/07/21 12:03:32   Desc Main
                                               Document
                                                     TAXES   Page 2 of 8
            DESCRIPTION                           CURRENT                      YEAR-TO-DATE
OASDI                                                              80.36                         1,907.87
MEDICARE                                                           18.80                           446.20
FEDERAL WITHHOLDING                                                89.96                         1,440.42
STATE TAX - GA                                                     49.35                         1,315.22

TOTAL:                          I                                 238.471                        5,109.71


    ACCOUNT NUMBER                  TRANSIT                      ABA                   Amount
       ******0516                     ******                     ******
                                                                                        977.05

         PHONE                    EMAIL                         WEBSITE           IMPORTANT NOTES
      1-866-MYTHDHR       MYTHDHR@HOMEDEPOT.COM          WWW.MYTHDHR.COM         WELLS FARGO BANK
         (698-4347)                                                            SAN FRANCISCO, CA 94107




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               Case 21-57519-bem             Doc EARNINGS STATEMENT (US)
                                                 5 Filed 10/07/21    Entered 10/07/21 12:03:32                         Desc Main
                                                    Document     Page 3 of 8
                     HOME DEPOT U.S.A., INC.                                             PAY PERIOD BEGIN:                 08/09/2021
                                                                                          PAY PERIOD END:                  08/22/2021
                     2455 PACES FERRY ROAD
                     ATLANTA, GA 30339 4024                                                   ADVICE DATE:                 08/27/2021
                                                                                           ADVICE NUMBER:                           0
                                                                            AVAILABLE SICK AS OF 08/22/2021:             8:45 HOURS
                                                                       AVAILABLE VACATION AS OF 08/22/2021:              0:00 HOURS
                                                                       AVAILABLE SUPP SICK AS OF 08/22/2021:             0:00 HOURS

ASSOCIATE NAME:               BRITTNY ROBINSON                                       ASSOCIATE ID:                         129533766

                                                ALLOWANCES               ADD'L W/H             GROSS WAGES:                   1,845.02
FED INC TX            SINGLE OR                      0                       0                 NET WAGES:                     1,328.67
                      MARRIED FILING
                      SEPARATELY
STATE                 E - HEAD OF                        1                     0               NET PAY:                       1,328.67
                      HOUSEHOLD
IF YOU WORKED OVERTIME, THE OVERTIME RATE IS SHOWN DIVIDED BETWEEN THE BASE HOURLY RATE ("OVERTIME") AND ANY ADDITIONAL AMOUNTS ("OT
PREMIUM") . YOUR TOTAL OVERTIME RATE (TIME-AND-A-HALF) IS THE SUM OF THE "OVERTIME" + "OT PREMIUM" RATES.

                                                             GROSS WAGES
         DESCRIPTION                    PERIOD               RATE    HOURS                      CURRENT              YEAR-TO-DATE
REGULAR                          08/09/2021-08/15/2021         24.53         29.50                         723.64           25,463.92
BEREAV                                                                                                                         588.72
SUCCESS SHR                                                                                                                  2,236.30
OT PREMIUM                                                                                                                      25.55
OVERTIME                                                                                                                        51.07
HOLIDAY PAY                                                                                                                    725.70
VACATION                                                                                                                     2,936.80
SICK/PERS                                                                                                                      208.51
PERSONAL                                                                                                                       435.43
TEMP HRLY                        08/15/2021-08/22/2021         24.53      45.715                          1,121.38           1,121.38
HEALTH CHECK                                                                                                                    57.87


TOTAL WORKED HOURS:                                                          29.50
TOTAL GROSS WAGES:                                                                                        1,845.02          33,851.25

                                                    EXPENSE REIMBURSEMENT
               DESCRIPTION                                     CURRENT                                    YEAR-TO-DATE

                   PRE TAX DEDUCTIONS, CREDITS AND OTHER COMPENSATION/BENEFITS
          DESCRIPTION                        CURRENT                      YEAR-TO-DATE
MED                                                          62.00                                                           1,052.58
VISION FT                                                     9.31                                                             155.61
DENTAL FT                                                     6.19                                                             103.46
FUTUREBUILDER CNTRB                                                                                                            891.49

TOTAL:                                                                                 77.50                                 2,203.14

                                                     AFTER TAX DEDUCTIONS
               DESCRIPTION                                 CURRENT                                        YEAR-TO-DATE
401K LN                                                                                49.16                                   639.08
HOMER FND                                                                               1.00                                    17.00
BASIC LIFE                                                                              0.94                                    15.98
CRITICAL ILL                                                                            0.85                                    14.45
SUPPLIFE                                                                                5.26                                    89.15
STD                                                                                    18.94                                   321.07
LTD                                                                                     4.51                                    76.45

TOTAL:                                                                                 80.66                                 1,173.18

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                                                   10/07/21 Entered 10/07/21 12:03:32 Desc Main
          DESCRIPTION                        Document
                                                 CURRENT Page 4 of 8          YEAR-TO-DATE
OASDI                                                         109.59                          2,017.46
MEDICARE                                                       25.62                            471.82
FEDERAL WITHHOLDING                                           146.53                          1,586.95
STATE TAX - GA                                                 76.45                          1,391.67

TOTAL:                        1                               358.191                         5,467.90


    ACCOUNT NUMBER                TRANSIT                    ABA                   Amount
       ******0516                   ******                   ******
                                                                                   1,328.67

         PHONE                  EMAIL                       WEBSITE           IMPORTANT NOTES
     1-866-MYTHDHR      MYTHDHR@HOMEDEPOT.COM          WWW.MYTHDHR.COM       WELLS FARGO BANK
        (698-4347)                                                         SAN FRANCISCO, CA 94107




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              Case 21-57519-bem             Doc 5            Filed 10/07/21 Entered 10/07/21 12:03:32                     Desc Main
                                                             Document      Page 5 of 8
                     HOME DEPOT U.S.A., INC.                                                        PAY PERIOD BEGIN:         08/23/2021
                     2455 PACES FERRY ROAD B3                                                        PAY PERIOD END:          09/05/2021
                     Atlanta, GA 30339 4024
                                                                                                          ADVICE DATE:        09/10/2021
                     1-866-698-4347
                     Business ID: 350109-14                                                           ADVICE NUMBER:                    0
                                                                                     AVAILABLE SICK AS OF 09/05/2021:        8:45 HOURS
                                                                            AVAILABLE VACATION AS OF 09/05/2021:             0:00 HOURS
                                                                           AVAILABLE SUPP SICK AS OF 09/05/2021:             0:00 HOURS

ASSOCIATE NAME:               BRITTNY ROBINSON                                           ASSOCIATE ID:                        129533766


                                                ALLOWANCES                   ADD'L W/H         GROSS WAGES:                      1,447.60
FED INC TX            SINGLE OR                      0                           0             NET WAGES:                        1,032.19
                      MARRIED FILING
                      SEPARATELY
STATE                 E - HEAD OF                            1                       0         NET PAY:                          1,032.19
                      HOUSEHOLD
IF YOU WORKED OVERTIME, THE OVERTIME RATE IS SHOWN DIVIDED BETWEEN THE BASE HOURLY RATE ("OVERTIME") AND ANY ADDITIONAL AMOUNTS ('OT
PREMIUM . YOUR TOTAL OVERTIME RATE (TIME-AND-A-HALF) IS THE SUM OF THE "OVERTIME" + "OT PREMIUM" RATES.

                                                                 GROSS WAGES
        DESCRIPTION                    PERIOD                    RATE    HOURS                     CURRENT               YEAR-TO-DATE
REGULAR                          08/30/2021-09/05/2021             25.16        23.25                         584.97           26,048.89
BEREAV                                                                                                                            588.72
SUCCESS SHR                                                                                                                     2,236.30
OT PREMIUM                                                                                                                         25.55
OVERTIME                                                                                                                           51.07
HOLIDAY PAY                                                                                                                       725.70
VACATION                                                                                                                        2,936.80
SICK/PERS                                                                                                                         208.51
PERSONAL                                                                                                                          435.43
TEMP HRLY                        08/23/2021-08/28/2021             25.16       34.286                         862.63            1,984.01
                                                         J
HEALTH CHECK                                                                                                                       57.87


TOTAL WORKED HOURS:                                                             23.25 1
 TOTAL GROSS WAGES:                                                                                          1,447.601          35,298.85

                                                    EXPENSE REIMBURSEMENT
               DESCRIPTION                                         CURRENT                                   YEAR-TO-DATE

                   PRE TAX DEDUCTIONS, CREDITS AND OTHER COMPENSATION/BENEFITS
          DESCRIPTION                        CURRENT                      YEAR-TO-DATE
MED                                                          62.00                                                               1,114.58
VISION FT                                                     9.31                                                                 164.92
DENTAL FT                                                     6.19                                                                 109.65
FUTUREBUILDER CNTRB                                                                                                                891.49

 TOTAL:                                                                                    77.50                                 2,280.64

                                                         AFTER TAX DEDUCTIONS
               DESCRIPTION                                     CURRENT                                       YEAR-TO-DATE
401K LN                                                                                    49.16                                   688.24
HOMER FND                                                                                   1.00                                    18.00
BASIC LIFE                                                                                  0.94                                    16.92
CRITICAL ILL                                                                                0.85                                    15.30
SUPPLIFE                                                                                    5.26                                    94.41
STD                                                                                        18.94                                   340.01
LTD                                                                                         4.51                                    80.96

 TOTAL:                                                                                    80.66                                 1,253.84
                                                  TAXES
         Case 21-57519-bem    Doc 5         Filed 10/07/21  Entered 10/07/21 12:03:32 Desc Main
          DESCRIPTION                            CURRENT
                                            Document      Page 6 of 8         YEAR-TO-DATE
OASDI                                                          84.94                          2,102.40
MEDICARE                                                       19.87                            491.69
FEDERAL WITHHOLDING                                            98.84                          1,685.79
STATE TAX - GA                                                 53.60                          1,445.27

TOTAL:                        I                              257.251                          5,725.15


    ACCOUNT NUMBER                TRANSIT                    ABA                   Amount
        ""***0516                  ******                    ******
                                                                                   1,032.19


         PHONE                     EMAIL                   VVElaSITE          IMPORTANT NOTES
     1-866-MYTHDHR      MYTHDHR@HOMEDEPoT.COM          WWW.MYTHDHR.COM       WELLS FARGO BANK
        (698-4347)                                                         SAN FRANCISCO, CA 94107
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              Case 21-57519-bem             Doc 5      Filed 10/07/21 Entered 10/07/21 12:03:32                       Desc Main
                                                       Document      Page 7 of 8
                    HOME DEPOT U.S.A., INC.                                                      PAY PERIOD BEGIN:         09/06/2021
                    2455 PACES FERRY ROAD B3                                                      PAY PERIOD END:          09/19/2021
                    Atlanta, GA 30339 4024
                    1-866-698-4347                                                                     ADVICE DATE:        09/24/2021
                    Business ID: 350109-14                                                         ADVICE NUMBER:                      0
                                                                                AVAILABLE SICK AS OF 09/19/2021:         0:00 HOURS
                                                                         AVAILABLE VACATION AS OF 09/19/2021:            0:00 HOURS
                                                                        AVAILABLE SUPP SICK AS OF 09/19/2021:            0:00 HOURS

ASSOCIATE NAME:               BRITTNY ROBINSON                                      ASSOCIATE ID:                          129533766


                                                ALLOWANCES                ADD'L W/H         GROSS WAGES:                      2,104.39
FED INC TX            SINGLE OR                      0                        0             NET WAGES:                        1,359.44
                      MARRIED FILING
                      SEPARATELY
STATE                 E - HEAD OF                      1                        0           NET PAY:                          1,359.44
                      HOUSEHOLD
IF YOU WORKED OVERTIME, THE OVERTIME RATE IS SHOWN DIVIDED BETWEEN THE BASE HOURLY RATE ("OVERTIME") AND ANY ADDITIONAL AMOUNTS ("Or
PREMIUM ') . YOUR TOTAL OVERTIME RATE (TIME-AND-A-HALF) IS THE SUM OF THE "OVERTIME" + "OT PREMIUM" RATES.

                                                           GROSS WAGES
        DESCRIPTION                    PERIOD              RATE    HOURS                        CURRENT              YEAR-TO-DATE
REGULAR                                                                                                                     26,048.89
BEREAV                                                                                                                         588.72
SUCCESS SHR                                                                                               2,104.39           4,340.69
OT PREMIUM                                                                                                                      25.55
OVERTIME                                                                                                                        51.07
HOLIDAY PAY                                                                                                                    725.70
VACATION                                                                                                                     2,936.80
SICK/PERS                                                                                                                      208.51
PERSONAL                                                                                                                       435.43
TEMP HRLY                                                                                                                    1,984.01
HEALTH CHECK                                                                                                                    57.87


TOTAL WORKED HOURS:                                                            0.00
TOTAL GROSS WAGES:                                                                                        2,104.39           37,403.24

                                                    EXPENSE REIMBURSEMENT
               DESCRIPTION                                    CURRENT                                      YEAR-TO-DATE

                        PRE TAX DEDUCTIONS, CREDITS AND OTHER COMPENSATION/BENEFITS
               DESCRIPTION                        CURRENT                       YEAR-TO-DATE
MED                                                                                                                           1,114.58
VISION FT                                                                                                                       164.92
DENTAL FT                                                                                                                       109.65
FUTUREBUILDER CNTRB                                                                                                             891.49

 TOTAL.                                                                                  0.00                                 2,280.64

                                                     AFTER TAX DEDUCTIONS
               DESCRIPTION                                 CURRENT                                         YEAR-TO-DATE
401K LN                                                                                                                         688.24
HOMER END                                                                                                                        18.00
BASIC LIFE                                                                                                                       16.92
CRITICAL ILL                                                                                                                     15.30
SUPPLIFE                                                                                                                         94.41
STD                                                                                                                             340.01
LTD                                                                                                                              80.96

 TOTAL:                                                                                  0.00                                 1,253.84
          Case 21-57519-bem   Doc 5               TAXES
                                            Filed 10/07/21  Entered 10/07/21 12:03:32 Desc Main
          DESCRIPTION                       Document
                                                 CURRENT  Page 8 of 8         YEAR-TO-DATE
OASDI                                                         130.47                          2,232.87
MEDICARE                                                       30.51                            522.20
FEDERAL WITHHOLDING                                           462.97                          2148.76
STATE TAX - GA                                                121.00                          1,566.27

TOTAL:                        I                              744.951                          6,470.10


    ACCOUNT NUMBER                TRANSIT                    ABA                   Amount
          **-0516                  ******                    ******
                                                                                   1,359.44


         PHONE                     EMAIL                   VVEBSITE           IMPORTANT NOTES
     1-866-MYTHDHR      MYTHDHR@HOMEDEPOT.COM          WWW.MYTHDHR.COM       WELLS FARGO BANK
        (698-4347)                                                         SAN FRANCISCO, CA 94107
